Case 1:14-ml-02570-RLY-TAB Document 9636-1 Filed 11/20/18 Page 1 of 2 PageID #:
                                  64987


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 _________________________________________

 In Re: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                            Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                             MDL No. 2570
 _________________________________________

 This Document Relates to the Following:

        Daniella Barrera
        Case No. 1:17-cv-03179-RLY-TAB
        John Brandes
        Case No. 1:17-cv-03129-RLY-TAB
        James M Estes
        Case No. 1:17-cv-03780-RLY-TAB
        Hani Ghaith
        Case No. 1:18-cv-00896-RLY-TAB
        David Hare
        Case No. 1:17-cv-02067-RLY-TAB
        Nancy Rhines
        Case No. 1:18-cv-00852-RLY-TAB
        Jankie Sammy
        1:18-cv-00887-cv-00887-RLY-TAB
        Diane M Vina
        Case No. 1:18-cv-02689-JMS-DML

 _________________________________________

               ORDER EXTENDING TIME FOR DEFENDANTS’ RESPONSE TO
                  PLAINTIFFS’ MOTION TO TRANSFER VENUE

        This matter, having come before the Court on Cook’s Unopposed Motion to Extend Time

 for Defendants’ Response to Plaintiffs’ Motion to Transfer Venue, and the Court having received

 the same and being duly advised in the premises, now finds that the Motion should be GRANTED.
Case 1:14-ml-02570-RLY-TAB Document 9636-1 Filed 11/20/18 Page 2 of 2 PageID #:
                                  64988


          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the time in which

 Defendants’ may respond to Plaintiffs’ Motion to Transfer Venue is hereby extended to

 December 14, 2018.




 Dated _________________, 2018
                                                   JUDGE,
                                                   United States District Court
                                                   Southern District of Indiana



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